     Case 2:22-cv-00306                  Document 82              Filed on 04/14/25 in TXSD     Page 1 of 1
                                                                                                  United States District Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                                       UNITED STATES DISTRICT COURT                                    April 14, 2025
                                        SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                          CORPUS CHRISTI DIVISION

CHRISTOPHER SALAZAR,                                              §
                                                                  §
            Plaintiff,                                            §
V.                                                                §       CIVIL ACTION NO. 2:22-CV-00306
                                                                  §
BAY, LTD., et al.,                                                §
                                                                  §
            Defendants.                                           §

                                                             ORDER

          The remaining parties in this matter have announced to the Court that all matters in dispute and

controversy have settled. (D.E. 81). Therefore, the Court ORDERS the parties to file with this Court,

on or before May 14, 2025, appropriate documents seeking the dismissal of this matter.

          Should the parties fail to timely file such documents with this Court, the Court ORDERS the

parties to appear before the undersigned on May 21, 2025, at 10:00 a.m. to explain why they have

failed to comply with this Order.1 The Court further ORDERS that all current settings before the Court

are CANCELED, and any pending motions are DENIED without prejudice as mooted by the

settlement announced in this case.

          SO ORDERED.


                                                                          DAVID S. MORALES
                                                                          UNITED STATES DISTRICT JUDGE
Signed: Corpus Christi, Texas
       April 14, 2025




1 Parties may access the hearing, if necessary, via the following link:

https://www.zoomgov.com/j/1615444251?pwd=R3g5ZnBwdVpvVkFCUlBVS211UXZ4QT09
Dial by your location
    +1 669 254 5252 US (San Jose)
    +1 646 828 7666 US (New York)
Meeting ID: 161 544 4251
Password: 020679
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